                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

MO-KAN IRON WORKERS                       )
PENSION FUND, et al.,                     )
                                          )
                     Plaintiffs,          )
                                          )
vs.                                       )      Case No. 16-00393-CV-W-ODS
                                          )
PRECISE CONCRETE, LLC,                    )
                                          )
                     Defendant.           )

ORDER (1) GRANTING PLAINTIFFS’ MOTION FOR ENTRY OF MONEY DAMAGES,
      AND (2) ENTERING DEFAULT JUDGMENT AGAINST DEFENDANT

       This matter was instituted in May 2016. Doc. #1. After Defendant failed to file an
answer or otherwise respond to Plaintiffs’ Complaint, the Court directed Defendant to
show cause as to why default judgment should not be entered. Doc. #4. Defendant
filed no response. Accordingly, the Court found Defendant in default. Doc. #6. The
Court also ordered Defendant to submit its books, records, and other financial
documents to Plaintiffs so that they may be examined and an accounting performed. Id.
       On July 15, 2016, Plaintiffs filed the pending motion, which seeks entry of money
damages. Doc. #8. After Defendant failed to timely respond to the motion, the Court
directed Defendant to show cause as why the relief sought by Plaintiffs should not be
granted. Doc. #10. The Court ordered Defendant to respond on or before August 26,
2016, but no response was filed. Therefore, Plaintiffs’ motion is ripe for consideration.
       According to the evidence submitted by Plaintiffs, Defendant entered into a
promissory note in February 2016 in favor of Plaintiffs in the total principal amount of
$36,389.97, which represents contributions due to Plaintiffs for the period of July 1,
2015, through January 16, 2016. Doc. #9, at 1; Doc. #9-1. The promissory note
remains unsatisfied. In addition, Plaintiffs conducted an audit of Defendant’s books and
records for the period of January 13, 2016, through April 19, 2016, which revealed
$35,429.66 was due in contributions, liquidated damages, and interest. Doc. #9, at 2;
Doc. #9-2.




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      Plaintiffs request judgment be entered in their favor and against Defendant in
these amounts. After careful consideration of Plaintiffs’ motion and supporting affidavit
and exhibits, the Court grants Plaintiffs’ motion. The Court enters a final judgment in
favor of Plaintiffs and against Defendant Precise Concrete LLC in the total sum of
$71,819.63. That amount is broken down as follows:
      (1)    In favor of Mo-Kan Iron Workers Pension Fund, Mo-Kan Iron Workers
Welfare Fund and the Mo-Kan Iron Workers Apprenticeship, Training and Education
Fund and against Defendant in the amount of $36,389.97. This amount represents the
balance of the promissory note executed in February 2016 that remains unsatisfied.
      (2)    In favor of Mo-Kan Iron Workers Pension Fund against Defendant in the
amount of $12,485.76. This amount represents unpaid contributions, liquidated
damages, and interest for the period of January 13, 2016, through April 19, 2016.
      (3)    In favor of Mo-Kan Iron Workers Annuity Plan and against Defendant in
the amount of $10,790.51. This amount represents unpaid contributions, liquidated
damages, and interest for the period of January 13, 2016, through April 19, 2016.
      (4)    In favor of Mo-Kan Iron Workers Welfare Fund and against Defendant in
the amount of $11,209.43. This amount represents unpaid contributions, liquidated
damages, and interest for the period of January 13, 2016, through April 19, 2016.
      (5)    In favor of Mo-Kan Iron Workers Apprenticeship, Training, and Education
Fund and against Defendant in the amount of $943.96. This amount represents unpaid
contributions, liquidated damages, and interest for the period of January 13, 2016,
through April 19, 2016.
      The Clerk’s Office is directed to send two copies of this Order, one via first class
mail postage prepaid and one via certified mail, return receipt requested, to: Precise
Concrete, LLC, c/o Legalinc Corporate Services, Inc., Registered Agent, 12747 Olive
Boulevard, Suite 300A, St. Louis, Missouri 63141.


IT IS SO ORDERED.

                                                /s/ Ortrie D. Smith
                                                ORTRIE D. SMITH, SENIOR JUDGE
DATE: August 30, 2016                           UNITED STATES DISTRICT COURT

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